
PER CURIAM.
This matter is before the Court on Petition for Approval of Conditional Guilty Plea To Consent Judgment and Entry of Final Order of Discipline to violations of The Florida Bar Code of Professional Responsibility Disciplinary Rules 1-102(AX5) and (6), and 7-101(A)(3). We approve the Petition, and we hereby reprimand Respondent, William B. Netzer, for these violations. The publication of this order in Southern Reporter shall serve ás Respondent’s public reprimand.
Costs in the amount of $423.80 are hereby taxed against the Respondent.
It is so ordered.
ADKINS, Acting C. J., and BOYD, OVERTON, ALDERMAN and MCDONALD, JJ., concur.
